Case 5:24-cv-00153-SB-PVC clodniaert Filed 01/19/24 Page 1o0f 64 Page ID #1
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FILED
CLERK, U.S, DISTRICT COURT

JAN 1 9 2024

CENTRAL DISTRICT OF CALIFORNIA
BY TH DEPUTY

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BSS DR PLACE OF CONFINEMENT

“Note: UE repsoscntod by an atiomay, provide name, address & telephone
number. Jt is: your responsibility to notify the Clerk of Court in
- writing of any change of address,

UNITED STATESDISTRICTCOURT a
_ CENTRAL DISTRICT OF CALIFORNIA. __ Bie

iri i ton " ev 5:24-ev-00(S3-SB~ PVC
"FOL NAME Gains nee nde we _ To be supplied by the Clerk of the United States District Court

Petitioner, %
. CR :
‘ Criminal case under which sentence was imposed.

PETITION FOR WRIT OF HABEAS CORPUS BY A
en PERSON IN FEDERAL CUSTODY ‘
(28 U.S.C § 2241) : °

NAME OF WARDEN, (ecke edlotot ed hhving custody of
petitioner) : ;
Respondent.

INSTRUCTIONS - READ CAREFULLY >
This peon Kha ie Aegibly bandwitlen or typewien,signd by the peter, acer peiy of psy. pn

i saniektcn sal conviction for perjury.
- You must not attach separate pages to this petition ‘neg that ONE separate additional page is peal in answering Question No.9.

Upon receipt of a fee of $5.00 fom peaias will be filed ifi it is in-proper ordez.

Ifyouare ‘seeking leave to pean informa pauperis (withoutpaying the $5.00 filing fee and other court costs), then you must also execute
.the declaration on the last page, setting forth information which establishes your inability to pay the fees and costs of the proceedings or.
to give security therefor. If you wish to proceed in forma pauperis, you must have an authorized officer at the penal institution complete
the certificate as to the amount of money and securities on deposit to your credit in any account in the shatifision. L Tf your prison. account

exceeds $25.00, you must pay the filing foe as required by the rule of the district court. ‘

When the petition is completed, the original and 3 copies, must be mailed to the Clerk of the United States District Court for the Central
District of Californie, United States Courthouse, 312 North Spring Street, Los Angeles, California 90012, ae, Intake/Docket

Section.

Only one sentence, conviction or mae matter may be challenged ina single vetificn If you challenge more than one, you must dosoby
separate petitions. j

Petitions which do not conform to these fnskeoctleh will be retumed with 4 notation as to the deficiency.

. PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN FEDERAL CUSTODY (28 U.S.C 3 2241) —«tj.
CV-27 (07/97) ‘Page I of 7

Case 5:24-cv-00153-SB-PVC DocurGaninartied 01/19/24 Page 2 of 64 Page ID #:2

PLEASE COMPLETE THE FOLLOWING: (Check appropriate number).

This petition concerns:

1, Da conviction.

2. q asentence.
jail or prison conditions.

4. C prison discipline.

5. () a parole problem.

6. 0 other.

Tf FactoP Confinement.
PETITION

itentiony Victorville.

‘e

1. Place of detention
2. Name and location of court which imposed sentence 1).9. Li

3. The indictment number or numbers (if known) upon which, and the diiiines or offenses for which, sentence was

ed:
pT Bilastiaastiir AUSGIES
b.

G.

4, The date upon which sentence was imposed and the terms of the sentence:

a. oe =

b.

Cc. ee ~

5. Pe whether a finding of guilty was made:
After a plea of guilty

a, Er After a ples of not guilty — -
c. D) After a plea of nolo contendere

6. Ifyou were found: guilty after a plea of not tigi: check whether that finding was made by:

a. D2) a jury
bOa judge without a jury

7. Did Lyon appeal from the judgment of c car hin or the imposition of sentence? Oo Yes No

4:

8. Ifyou did appeal, give the following information for each appeal: é —

ann: Ifyou are attacking a sentence imposed under a federal judgment, you must. first file a direct appeal or ,
motion under 28 U.S.C. $2255 in the federal court which entered the judgment.

‘a QD) Name of court
(2) Result _ ~
(3) Date of result
(4) Citation or number of opinion

~e

PETITION FOR WRIT OF HABEAS CORPUS BY A PERSON IN FEDERAL CUSTODY (28 US. c § 2241).
: . Page 2 of 7

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Case 5:24-cv-00153-SB-PVC. Docudiginalied 01/19/24 Page 30f 64 Page ID #:3

(5) Grounds raised (list each):
@)
(b)
(c) .

@) _ - . .

b. (1) Name of oon .
(2) Result __ te
(3) Date of result
(4) Citation or number of opinion

(5) Grounds raised (list each):
(a)
) ——
(©).
(d)_

9. State CONCISELY every ground on which you claim that you are being held unlawfully: Summarize briefly the
facts supporting each ground. If necessary, attach a SINGLE page ony behind this page.

°

CAUTION: Ifyou fail to set forth all grounds in this petition, you may be barred from pressing additional
grounds at a later date. You must state facts, not conclusions in support af your grounds, A rule of

thumb to follow is - who did cat what to violate your rips at what time and place.

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andor, € Or i: Shah tory iii Hoority in =, 4 2 th {2).

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Supporting FACTS (ell your eat BRIEFLY without citing cases or eee Ducane fact-that Tar
x - DO () Sé it: Ore I Ging fie Oo 180 NEY Orvg On ide nbitied ! Orr? at

. PETITION FOR WRIT OF HABEAS CORPUS BY APERSON IN FEDERAL CUSTODY (28 U.S.C § 2241)

CV-27 (07/97) Page 3 fF
a Case 5:24-cv-00153-SB-PVC Do@riasthal Filed 01/19/24 Page 4.of 64 Page ID #:4

c.
d. Ground four: lpe KOP fai le fo alive, me 0 10 £35 —, i i Strartiog errors 2 9g Dio
0 a anta ara UX ASe mene, +: Mer Gore n Olatrey} IBUSC Avs bd orc es -
Supporting FACTS (tell your sary BRIEFLY without citing cases or law): Ves ie
BOWES id’s Nos Lif Tne DOP NAS 1 ca 2 itcle Na tt anit ai Ae 6 10°
ar ai ito) c+ina tr rr xX G20 Ky ix K Seonterce + MeN OO:
1 J Uy O) :
PaneOoS onlemertal For Flare We-tails

10. Have you filed previous petitions for habeas corpus, motions under Section 2255 of Title 28, United States Code, =
any other applications, petitions or motions with respect to this shaviction? MyYes ONo

1]. ‘fyour answer to Question No. 10 was yes, give the following information:
a: (1) Name of Cont (8. Dictrict Court of Nor-tnern Californian
Nani ofpeowiing 2BUSC 2255

PETTIONFOR WRIT OF HABEAS CORPUS BYA PERSON IN FEDERAL CUSTODY (28 U.S.C § 2241) .
CV-27 (07/97) Page 4 of7

Case 5:24-cv-00153-SB-PVC Doe OiFiatihol lee 01/19/24 Page.5o0f64 Page ID #:5

b. (J) Name of Court
(2) Nature of proceeding =
(3) Grounds raised

(4) Result

(5) Date of result . 2 —
(6) Citation or number of any written opinions or orders entered pursuant to each disposition.

12, Ifyou did not file a motion under Section 2255 of Title 28, United States Code, or if you filed such a motion and it
was dames, state why your remedy mi way of such motion is inadequate c or ineffective to test the legality of your

re ons aa a } oN . : el i .
snust he bya pursuant to 622H\ ining custodial Court:')
13. Are you presently represented by counse!? o Yes MNo
If so, provide name, address and telephone number

in ae Nl ne
; tne a cy

Case name and court. —_- . __

14, Tfyou: are seeking leave to protped i in forma pauperis, have you completed the declaration setting forth the required
information? MYes O No a

Sid pt ee

WHEREFORE, petitioner prays that the court grant petitioner relief to which he may be entitled in this proceeding,

‘Signature aaeorey ay)

I dealies (or certify, weer or state) under penalty of perjury that

«
2

Executed on / -IS803H :

Date : i . UC Siete of Petitioner

PETITION FOR WRIT OF HABEAS canenis BY APERSONIN FEDERAL CUSTODY G8 U.S.C § 2241) ©
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CV-21 (07/97)
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(“3

Adelanto,LA 9220)

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| Obeos |e+it+ion upplemental

United Sates istrict Court
(cn District of California.

CASE NUMBERS

Domari W. Sinoletons#2295 lll
60. Box 3400"

Patntiee,

Warden-l'p. rate-SP Vitoniile Wardens BP
___ Respondents

Wurtedtotionl-: Th halo2\™ Strips the Court of urisdiction +o congider a.
prisoners rial BOP Classification designation, i+ does not preclude, review of
all challenges +hat rrjghnt implicocte individual designation; See Menaray-tlatian
Cre. Treg 49BUS 479, 492,,I8.04.323,88L.Ed.t (984) -quoting Anemadvalocque2 860-

Red, Appx. 4544 cir. 2020),

a
‘De Match sath bor (prisdiction +o consider Claims that the Bureau of Pisons

__ eXCeeded i+5 ih violoted the Constitution yor acted coertrap ii

eStablished federal lou when acting pursuant to \BUSE 3021; qporiog Rodriquez v. -
Copenhaver, 823 F.3d 1238, 242A" Gir=2 0K

Exhaustion of Administrative Pemedtest -, CanpletelaEvhousted with Patil
and exigent cireumétances. See Exhibit © _". Wier of the exhaustion requirement

be appropriate include Situations Where the pursuit of judicial remedies i futile
or irreparable harm would result} quoting Lotgqv. Asherof+t,& 10F.3d 944 1000-01-20
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Case 5:24-cv-00153-SB-PVC Document1 Filed 01/19/24 Page 7 of64 Page ID#:7U)

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hlikttivad ~(Bocaound)~

(On September -li-2010, +ne petitioner wos initially Sentenced +o a
Bureav of Rison (BOP) +erm of ZOmontns, see ECF 102 » Then on
Mou-5-202) L arrived at USP Victorville aga. new commitment. Oince-the _
beginning of my arrival +o, USP Victorville, I ftled o barrage of administrative
remedies and Notices asserting that TL was misclassified +a.

USP Victorville; see ExHterT_ _. Expt proves that. completely

exhausted m4 BOP administrative remedies in reaards +o m4 Sonta Ciara bury
Sentences/convictions e Following on Februan4- \- 2023, mH 2.10 month BOP
term of imprisonment wos vacated and I wos refentenced +o aterm of lB
momths§ —usith only Four crisoinal hithas penis finaiae re in

three. See ECF IMland 198 Lasiiy on Wilo-2023, TL wos returned back to
USP Victorville under muy iniHal repisteation number and Male C Chossif ication
accumalation Form. P muster} Clopsification has not chanogd cates
Mew Criminal history Score, nor has 1+ chapaed reflect in palien spetacen
4$5100,08- ented Section. Securt Desjanation p, res For Nexlorathnents -
por hfe). See current BOP ale Costar Giassification Form-for proof of
tha in Exhibit. T hove. not been reclassified since. ray inital BOP eustods
classification accumalation. © Miso see ECFIB2.

[Lntraduotiont, ~(igusc 310215 3)~

The classification of prisoners i$ 0 very iG80e Bimilar +o +he classification of
200 animals. For example, 0 200 Keeper would not house. a mann rabbit in
the some, cage 08 a-tiger or bear because-tne “history and characteristics’ of
+hese animol§ are not Compatible enopojn for Ccohabitection. This's one mgior rengor

. why Coparess unambjapichy Set forth Pive Factors in IBUBC Blo2.\(b) for +ne BOP

. *
+o consider when its Confinement Classification dagignatlortore mode. Ihe Stotote
oF 14

veep 5:24-cv-00153-SB-PVC Document1 Filed 01/19/24 Page 8 o0f64 Page ID#:8

| - -
| Nak ony provides discretion -+to tthe. BOP-for placement, but provides a. Specific
list of Five factors the BOP must consider (prior) +o placement. Further tne.
leajalative history Supponte.dine Sleding rat toneidention of tne five. factors.
are mandetony , Riess Non exclusive} qpoting EsquedaviWhidenLexis 21H
(9 Cir-2007). The five factors are os Fallows’. |)-4he. resources of testicle
Contemplated; 2)--the nature. and circumstances af the offense; 3)-tne
history and Characteristics of the prisoner 5 )- os Stotement made. hy the
Court that imposed the Gentences and 5)- ony pertinent poliq., Gtotement iesued
by ‘the Gentencing commission pursuant +o Gection FAH (ola) of Tie. 28. Factors _
a and (3) require Gpecific onalusis +o 2ach individual prisoner. BOP palin
Statement # 5100-08 Gets fortn the full and entire exercise of custody
ClassHfication designation procedures » Therefore, BOP pation Stostement%5100-08 is
the. preceduval formula. of the Custody, classiPication desjqnation discretion (ported
in 18U6C 3021(b). The BOP has four main levels of imprisonment inatitotions with
aaaclay Store requirement A§ Follows « O+012. points = minimum Securtpyinatttution;
‘ctolS poles = lous Securtiss ingtthetions lato26 points 2 mentum Securthy ingtttutony

jen points orf) more = high Securify institutions See EXHIBIT H.

Weausrentl* .
As mH administrative emer, idst 18053-RI"BPIO’ maxes dlear, m4, BoP Sustod,
Classification criminal history, Score was derived Sirajant From PSR; See Exhibits
6 and 4s “ However, eis Designation Bectoron Poe New Commitments
pargayaph [F) of BOP polley Starhemerrt 4#5100-08 Substantiates; +nat no nistory
points Should have. been aiven for rp, Santa Clara convictions because. ae ore Considers:

+o be a. part of mys curent-teirm of confinement. See Exnibit 1. More relevant,

my current P&R has been armmended Showing that reycrimino | hiGtory Score. iS rade
+o “four points See ECF Aandi. La error, My Mate Custody Classification Foren,
carr 5:24-cv-00153-SB-PVC Document1 Filed 01/19/24 Page 9of64 Page ID#:9 WU

l) SHIL Incorrectly Shows 4 criminal Score +o be. at (8) points. Upon

1) ve-senteret hearlog in which Twas housed ont of BOP custody in DublinpA,..
3) the. BOP Failed +o reclassify me in accordance +o myn armended POA. -
4) As another amass violation example) my Sacramento False Ldent fication
Oo) comiction wag deemed hy the Court +o bea. part of. ray federal offers.
b) Erroneousty ny current classification form S#ill Shows thet conviction 4106. .

7 he accumalated into. mY Criminal history, Section ~ingtead cBibeing, O. Circomstonce,
8) size of ni nelaentey IBUSC Aic2ilo)(2).. by Failing, +0 follow their own aferementioned. _

= %) : Bpecific policy in #65100-08, and failiga ta reclassify mein accordeonce wit
0 m4 nes Gentencigg criminal hughopy, Score it is. over|u clear +not +ne BOP did.
(\) not adequately consider \BVECAlo2\(b\\a) before. designating, me back +o USP

_ 2) Victorville ; Mate. Guatoay Glass Fieation Foon canecioah) Sten +nat TL have,
: es Benicia ints am cankeausied. sy Becuriny points - .
i) 5 Custody classification Securipy, osints total to (22) Tweety points places,

a {d me. act a-rnediiun. Security institution. levels Never-tneless, and qaain, # the.

m ROP were +o also ConPyaure rey Criminal hiBtory points in accordance +o...

‘) _ . Policy Statement 446 100.08 -L would not have received ce points _

. A. whatsoever for or oF 1 Banta. Claro. Coury Convichons . hat conFiauration

20) ulould further drop rpg total BOP Securify Score to (12)-a law security points.

dl) ingtitution level. Due to +re Fact thot Tam an identified Sex offender and
2) +no+ ie, Gficeni Rico et Riceteg ateraes. xpgiithedd “been, baliap choad
(3) Confined oF a. penitentiary which creates O Substantial riak of Narrn+o rey,

: Bakes 0. prelieningre, w@junction 56 mertred andthe exhaustion requirement.
Should be. waived. Un apite of Hat, the. petitioner Still inttiaked adratniahat
remedu request Hnereto Fron B+P-8,8:P-4, and pendiqa,B-?-10. See Exnibito_,

Case p:24-ov-00182-SB-PVC Document 1 Filed 01/19/24 Page 10 of 64 Page ID #:10)

orld

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Tho suit such as petttioners, insofar o8 it Seeks Iqlunctive relief to prevent
0. Substontio.| risk of Serious Hejuny Leone pening tn achat harm, +ne

Subjective factor, deliberate. Indifference. Should. be determined in lakh of +e.

at
_ prigon outhorities turret attitudes and Conduct quoting MayeveBirkholzLexia .

231484(2022).. To succeed on an Ejartn Amendment clainn, tne plaintiff must Show

~ both Objective and Subjective. deliberate indifference to 0 suostontial isk of harm

in hishher Confinement. See. Farmerv. Brennan, SNU.S-825, 838, IINS.O+.411281. Es 28h)

vw
_ | The Ninth Gircutt has established 0. four-part test +o determine abiective...

detiberate: indiference: based on exposure: +o daggerous Condition, 0
Follows: |) the defendant made an intentional decision with respect +o the.
condition$_ under which +he plaintiff was confineds. ii)+those Conditions pur
the plaintiFf o-+ 0. Substantial rick of Su erring Serious harms iti)-the defendant.
did not take. reasonable available measures to abote the risk, even thoyajno.
reagonable of ficial in-the circunidtunce. would have. appreciated +he hj
degree oF risk involved makina tine, consequence of the defendants conduct
Obvious iv) ba not aking such measures, the defendant caused plaintiff
inivries' quoticg Gordonv.CinyoOrange BEBFSd IIB 251 (Cir. 2018) Aso,
receanizing +neé Supremes Court Fi nding Hast a. prisoner need not wait unl
heis actually ossaptted before. ahinicing relief; See Mitra [iti Sa Sect

As previous} ellaborated, in (bround One! of this Gupplement. the BOP Fated
+o adequately congider rey eriminal historusin several) § COu6iNg 4 Bubstonto!
risk of harm +o np acti hoy releiclaneeFlinc se to USP Victorville. Under BUS A2Nek
+ne BOP must also conéider the “nature and circumstances of tne offense bak
o. classification designation can be. made. 1 the petitioner Stands convicted ofa.
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Casi 2 ovo01se-Se-PvC Document 1 Filed 01/19/24 Page 11 of 64 Page ID#1§) ~

Sek taffeta corgi aii, enterprise. uhichmales mea. Sok offender. Tris.

‘well Known +nat idemhfied Bexroffenders. are subject +o attack in prisons

quoti Morris veYovorri Lexis i@qoz (2020); also gee Neal \alF.ddat 8295
(oilber+, 2019U.S. Dist. Lexis 2109173 and Nailing, 2.012.U.5. Dist. Lexig 28028. Nout

here ore iusto. few cases that T fasnd that usere. bbefere.*tne. Cock perkiciaa

+o the ravitithde. of ottacks qapinst Sex offenders a+ USP Victorville.
, \)Medanielsv.United States Lewis IS 744; 2) Brownv.MeGreLexisiI9Z 1o(2014)s
ond A) WillisveLoppin Lexis tAicdQ.. Numerous newepapers Such a6 the. Sandose.
Mercupy News and Bay Area Newsavoup publ Shed extensive articles. about me
etal "Cy indictment and Bentbencing +o +e public. A Simple, Cogae Search _

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Ana\iable +o oM\ prigoners a+ every Bor Pach \itaye reveals. nurnerov6 Ccoge
laws eS Bek aherder Btodus and details of mca ictian. See. _

Lens oe

Lasity, >i recent hove been 1 confronted abest rey sex. offerder gto by

a Niotenila orinenect sy which TL. had nochoice. lout +o confirm. There.
16 No dover thor T, — pos neta ene ved a8 a Gex oFfende
Ot UEP Victorville. oe a

lF be A Toaslt. ‘“ ik. Te Fadanad Bureau of Prieans inberiorally iscsi

_ me +o confinementat USP Victorville because tne. BOP Aailed -ho Falla clear uy

estoblished federal laws and palicieS thereto» ” For etompie, iF an Earth Amendment
plaintiF? preserts evidence Shanna, tot a GubdStartal ci6k of inmate attack
Las, lonaghandinay pervasive, andthe circumstances Syqoest tnor the
defendart-oFFicial beiqa Sued nod been exposed -to inforrnation concerniasthe.
EK and +s must have Known about it, ten such evediace could be
cay 5:24-cv-00153-SB-PVC Document1 Filed 01/19/24 Page 12 of 64 Page ID #:124

Toh 4

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Sufficient to permit ater of fact to Find the. defendant-ofFiciol had actus
Knowledag of +e rieks quotica Farmer v Brennan, Bi U.8. ot 843. Intent iaaiso.

preven buy the many vrequivocal anigclassificatan. notices and adrninigtrative

_ remedies Filed —+o winch qove the BOP ample opprotunihy to correct +neiic

uniaw Rol misclagsification ecracss. 1). Whe Conditions at USP Victorville creates
GO. Bubstortial rick oF farm +o. rm Sakeny because. it iG Well Knqun-thot
identified Gex offerders ced cepeoais, BuR\ect to attack in prigon. Aico,

USP Victorville SpeciFical , hos aareat track record for i¥6 inmate

a8Sauhs qoainet Ger offenders - Then iS nNoGecret “Harogahout +ne eriminal
justice qustem thot Gex offerders usually require amore prorectie Custody
epniroment. The BOP even ackrowledees this fact in thei paliay Shahement iunich
‘inetitotions ,“ which primapy opal is +e redice-the needte place SexualoPenders.
Jin protective costa quotiga BOP paliqy statement See Exhibit.
Even mare, the BOP ia not authorized to confine a. prisoner akopis BOP
Inetttution. without First adequately considering, the five Seperate factors

M wmondated in 18U6C.3lo21(0) . A stroga, preaumption of a Sushantial risk exist

B.
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i)

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_. tra eriSplassified prisoners + BOP classification desianation procedures and IAICA2Ne
— were desianed to protect the Sofehy of prisoners and Gtuff Ry classifyina,

nce Accor inMares in Confinement with each otrer. IBUSC 462.6)
Corrobonntes with tHe Fact tnot oparess intended “tok prigoriens ust O..

Bimilar risk level bearavped tpagther in ve VRP ashianment Aecisions +o
the extent prachaotles quotigg BUSCG682(6). USP Victorville 1s 0 high cecorit,

prison for Inidp Geourth, priconers. T Orn wigu lesser +han o ryan Benue iky prisons
therefore jn ot risk. Last but not least, Lam diggnosed waitin severe, Fost
Traumatic Streaa Digorde yor Deoreasive. Disorder LBP Victoevitle hay

va 5:24-cv-00153-SB-PVC Document1 Filed 01/19/24 Page 13 0f64 Page ID WES
Bor ly

1) See ECF 190 id ot defendantStatement » and ECF I9T dat" Mental and Emoto Heath.
DT) IB USC SU ZILE) mandates tha the. BOP must also corsider ny characterises
3) hence - mental disomers~hefire desianat Ame. +40 an ingtrruhon.
4H) fii)-.. Durigg ry intial custody intake, o& USPVictorville, and Hregpout ay
5) confinement here, L repeciert norified 4 CABS MANGAL j +ine Wardens,
b) my ont manaaers, and caunselar Prieto—thot USP Victorvilles enviranent
7? i. @ BUbStartial riek oF horen40..nqu 6ofe hy due te me being a. Gexotiender
8) — and a. law Geouri prisonerSee Exhibit K =. None of the aforementiored
9) officials do anus pate oboe +e risk even Frovop areasonable official
0). _ — in +he cireumetences would hove appreciated +he Kjoln dearee, oF ciaKinvdved
\\) A 8exX of Fender who 1S at most a medium. aaa, prisoner, misclassified +o
yy nice San USP Victorville uuinich is Known for assaults paaingy thiG jupe
(3) of offerder= made tne BubStuctial risk oF harm execemecks clin s.
HW) The BOP made available SOMP instinstions (jy for offenders like me, _
. (6). bot +he BOP failed +o 4uke nis measure even atrer tne nacigis tines 1
Ilo) requested -them 40.do6o.- The ony awilable reasonable. measure, would be
mM). to either transfer me +0.0. GOMP inatitntion, or, transfer me toa low
8) Security instituHon to abate the, cisks becasset " Pentrentiares are,
(Q Epcos niche eecurt Racilify witin more. trenbhiesome prigoners=qpoting
wD) Farmerv. Brennangil,US. 825833 188.Cra%) Ta Palins My PER id ot
(2) "Mentatand Emotional’= Heath = hos an expansive. bdckaraund highlp)atinc
Dd my mental disorders (intenHanally) 80 the BOP would not miss i¥S seriousness
23) LUhen clossifuifa me This i6 wiaynpasertenci on (tee ok Sentrenci a
24) recommended +ne BOP +o ane me maental health treatment: The congas
2D) oP mi Ey uphich. inflicted emotiontal -rovma. upan. nme, W208
dla) - evidecty Opviows. IV)-. Runok takica Buch Measures y BOP officials are
oh. CaUEING, me. Severe. harm +o neamenta] health as indicated in. neagercails
Case 5:24-cv-00153-SB-PVC Document 1 Filed 01/19/24 Page 14 of 64 Page ID ay

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\8USCa5844 ©) oppties to all administrative. determinations bythe BOP. L¢ tne cour+
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dote, because that time was not Credited towards aa other Rederalsertence).

lEnd of Grounds|* b(Reties Requested M1. Court ordering the BOP +o reclassifi
and redeslonate mein accordance tothe laws, policies, and merits of this petition.

this Petition pracasdinag, its because. BOP officials have Sent me totne Soins

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EXHIBIT G
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INFORMAL RESOLUTION
S22

INSTITUTION (CIRCLE ONE) FCI I FCI II CAMP

NOTICE TO INMATE: Be advised that before filing a Request for Administrative Remedy form
BP-229 (except as provided in §542.13(b)), you shall attempt to informally resolve your
complaint through your Correctional Counselor. Briefly state the complaint below and list —
what efforts you have made to resolve your. complaint informally. State names of staff

contacted.
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FOR STAFF USE ONLY |

Date Form Returned

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Steps taken to resolve complaint and con¢lusion:

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Counselor Signature Date

Unit Manager’s Comments:

Unit Manager Signature Date

Distribution: If complaint is NOT informally resolved - Forward this original’
form attached to BP-9 Form to the Administrative Remedy Clerk. :
Case 5:24-cv-00153-SB-PVC Docuiargarne! Filed 01/19/24 Page 22 of 64 Page ID #:22

U.S, DEPARTMENT OF JUSTICE
Federal Bureau of Prisons

‘Type. or use ball-point pen. [fatrachments are needed, submit four copies. Additional instructions on revers .

REQUEST FOR ADMINISTRATIVE REMEDY

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Part A- INMATE. REQUEST =t Tan réquesti
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Part B- RESPONSE

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Part C- RECEIPT
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“APR 25 2022

|By—
WARDEN OR REGIONAL DIRECTOR ae abel

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CASE NUMBER: |
re CASE NUMBER
F
"LAST NAME, FIRST, MIDDLE INITIAL” Poy REGNO, oe UNIT INSTITUTION

SUBJECT:

DATE

> RECIPIENT'S SIGNATURE (STAFF MEMBER)

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APR Tam |

Case 5:24-cv-00153-SB-PVC Docume{NPtéd 01/19/24 Page 23 of 64 Page ID #:23

“Request for Administrative Remedy
Case No. :: ‘1118053-F1 ad :

This’ is in response. to your Raduant for Aduinistrative J memadyis
received in this office on April 25, 2022, In your request, you:
-. want the BOP to mandate your Santa Clara County sentences as_ part

of your Bureau of Prisons confinement. As relief, you request to

have your jail credit: updated to. receive an earlier release date.

“Investigation | into your claim by DSCC has. revealed that you. were
dn continuous ‘custody in local jail serving your sentence,
according to California DOC you over served on your state
sentence. State end of sentence was 7-26-2018 and your Federal -
 exedit was. applied from cane You were not in. USER
+ .09-02- 2015. . t= . .

‘Accordingly, cna response. to: your > Haale Fox hitiniatcative
" Remedy is for informational purposes only, If you are not
satisfied with this response, you may appeal to the Western
Regional Director. Your appeal must be received by the Regional —
Administrative Remedy Coordinator, Federal Bureau of Prisons, |
_ Western Regional Office, 7338 Shoreline Drive, Stockton, CA -
95219, within Teeny ah. ORS oays, from ‘the. date of this
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. Tanner Complex Warden _— a my Date

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U.S. Department of Justice Do agp correspond.to P.0.B0%.5400! Regional Administrative Remedy Appeal
Federal Bureau of Prisons 4, i 5 on lonces \ wm tl > oO * E 0 3900 Mdelanto ‘A

Type or use ball-point pen. If attachments are needed, submit four copies. One copy of the completed BP-229(13) including any attachments must be submitted
with this appeal,

Part A- REASON FOR APPEAL, The Warden and. the Coge Manoagemertt Coordinator hos
Fatled +o +reo+ my Sante Claro. CountujState terms of imprisonment 0S oSinale.
agyegrte +erm +o my current Federal confinement -asg mandated tn IBUSC 358H(C) and

J
BOP policy Stotement4t5100.08-Section? Security Desiqnastion Procedures for New Commitments
Poragraph (F). This fatiure hos reguttedt into the Continous unlawhul placement of “histor ySecurttypcin
For nts Clora.County Strate convictions~which exceeds +he por’s Stautory aon
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Part B- RESPONSE
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DATE REGIONAL DIRECTOR

If dissatisfied with this response, you may appeal to the General Counsel. Your appeal must be received in the General Counsel’s Office within 30 calendar
days of the date of this response.

ORIGINAL: RETURN TO INMATE CASE NUMBER: NYOSIO™\

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CASE NUMBER:

Return to:

LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
SUBJECT:

DATE SIGNATURE, RECIPIENT OF REGIONAL APPEAL

@® BP-230(13)
FPI-PEPR PRINTED OM RECYCLED PAPER JUNE 2002

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Case 5:24-cv-00153-SB-PVC DocuthrtAn Filed 01/19/24 Page 25o0f64 Page ID #:25

1118053-R1
USP Victorville

This is in response to your Regional Administrative Remedy Appeal of the Warden’s decision
dated May 11, 2022, wherein you seek jail credit for time served towards your current
sentence. Specifically, you state you should receive credit for time served in Santa Clara -
County. You further contest your criminal history security points.

A thorough review of your case was conducted. We agree with the Warden’s response based on
the facts provided to us. The Designation Sentence and Computation Center (DSCC) audited
and calculated your federal sentence based on compiled data. The source documents reviewed
includes, but not limited to, Court Orders, state and federal judgments, Individual Custody and
Detention Reports (USM-129), records relating to your state sentence and jail credit, and Pre-
Sentence Investigation Reports (PSR). Pursuant to Program Statement 5880.28, Sentence
Computation Manual (CCA of 1984), (CN-03), section c. Prior Custody Time Credit states,
“Statutory Authority: Prior custody time credit is controlled by 18 U.S.C. § 3585(b), and states,
“A defendant shall be given credit toward the service of a term of imprisonment for any time he
has spent in official detention prior to the date the sentence commences--(1) as a result the
offense for which the sentence was imposed; or (2) as a result of any other charge for which the
defendant was arrested after the commission of the offense for which the sentence was imposed;
that has not been credited against another sentence.” You are not eligible to receive time served
in this case as the federal judgment, case number CR-16-00518-001 BLF, indicates your
sentence shall begin September 10, 2019. While conducting the investigation and requesting
input ficm the DSCC, we found you were appropriately awarded a total of 864 days of jail credit
from the time served during the following dates: December 9, 2015, through January 12, 2016;
April 15, 2016, through April 19, 2016; and July 27, 2018, through October 27, 2020. Based on

the above, we conclude DSCC calculated your federal sentence correctly and your calculated
projected release date of May 15, 2033, correct.

_ Insofar as you claim you are classified with inappropriate criminal history points, we find your
PSR line 62 indicates you are classified with a total of 10 points. As such, the Bureau of Prisons
applies a total of 8 points towards your Male Custody Classification Score. In review of your
points, we find no concerns with your classification in this category.

Therefore, your request for Regional Administrative Remedy Appeal is denied. If dissatisfied
with this response, you may appeal to the Office of the General Counsel, Bureau of Prisons,
320 First Street, NW, Washington, DC 20534. Your appeal must be received in the General
Counsel’s Office within 30 calendar days of the date of this response.

A\s|>> |

Date M. Rios, Regional Director _
Case 5:24-cv-00153-SB-PVC Docufaar tT” Filed 01/19/24 Page 26 of 64 Page ID #:26
U.S. Department of Justice Central Office Administrative Remedy Appeal

_ Federal Bureau of Prisons

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ments must he subinitt “with this appeal.

104 s OR-122 USPVictorville
ea 2898 7-\\\ UNIT INSTITUTION
. Part A- REASON FOR APPEAL=, _L Om proceeding with this BP-23103) application, because your Western
Relgona| Office has failed tn responding to my Completely Filed. and accepted BP-23003) o+-the mandated
os ~ bie need and accepted on 5-23-2:022-Cose Number’ 118053-R1. Nor has upur Western Relgona|
ee a me notice of response extension thereto. Nevertheless, I have encloged.o. copy of my completed
i ae ee “118053-F. So, the firs} reason iE hove Filed this Central tied Aopeal-is
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Part f- RESPONSE

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JUL 06 2022

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~ DATE GENERAL COUNSEL
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Part C - RECEIFT
CASE NUMBER:
Return to
LAST NAME, FIRST, MIDDLE INITIAL REG. NO, UNIT INSTITUTION
SUBJECT:

DATE aA SIGNATURE OF RECIPIENT OF CENTRAL OFFICE ‘APPEAL
BP-231(13)
Case 5:24-cv-00153-SB-PVC Dotumiantl Filed 01/19/24 Page 27 of 64 Page ID #:27

Administrative Remedy No. 1118053-A2
Part B - Response :

This is in response to your Central Office Administrative Remedy
Appeal, wherein you state your federal jail credit has been
computed incorrectly. Specifically, you allege your state
sentence ended and your jail credit should begin in August of
2017. You further claim your criminal history and history of
violence points were inaccurately calculated. For relief, you
request this matter be corrected.

A review of your file reveals on December 9, 2015, you were
arrested by Roseville Police Department, in Roseville,
California, for Vehicle Theft in Case No. 54689. You were
released from custody on January 12, 2016. This case was later
dismissed. On April 15, 2016, you were arrested by San Leandro,
Police Department in San Leandro, California, for Embezzle
Leased/Rented Vehicle and on April 19, 2016, you were charged
with multiple offenses including Burglary, in Santa Clara
County, California. On November 16, 2016, you sentenced in
Santa Clara Superior Court Case Nos. C1485673 and B1579481, to a
term of 2-years and 8-months imprisonment. Your charges in

San Leandro, California, were dismissed.

On December 15, 2016, you were indicted in the United States
District Court for the Northern District of California, Case No.
CR-16-00518-001 BLF. On September 10, 2019, you were sentenced
to a term of 210-months confinement for Sex Trafficking of
Children. The Court was silent regarding how this term should
run in relation to your California state term. Following
sentencing, you were appropriately_returned to state
authorities. On October 28, 2020, you were released from your
California obligation and entered exclusive federal custody for
commencement of your federal sentence in accordance with Title
18 U.S.C. § 3585(a).

Title 18 U.S.C. § 3585(b) and Program Statement 5880.28,
sentence Computation Manual (CCCA of 1984), states in part, "A
defendant shall be given credit toward the service of a term of
imprisonment for any time he has spent in official detention
prior to the date the sentence commences as a result of any
other charge for which the defendant was arrested after the
commission of the offense for which the sentence was imposed
that has not been credited against another sentence." According
to staff from the California Department of Corrections and
Rehabilitation (CDCR), although you were released from CDCR on

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11-22-2022

Case 5:24-cv-00153-SB-PVC Doda RAE Filed 01/19/24 Page 28 of 64 Page ID #:28

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Administrative Remedy No. 1118053-A2

Part B- Response

Page me

October 27, 2020, your time in custody exceeded your 2-year and
8-month term. Because your term would have expired on

April 22, 2018, you received jail credit from April 23, 2018
through October 27, 2020.

Program Statement 5880.28, Sentence Computation Manual (CCCA of

1984), and the provisions of Title 18 U.S.C. § 3585(a), a
sentence to 4 term of imprisonment commences on the date the
defendant is received in custody awaiting transportation to, or
arrives voluntarily to commence service at, the official
detention facility at which the sentence ig to be served. As a
result, your federal sentence commenced October 28, 2020, the
date you were released to federal custody.

In addition, your classification score has been reviewed

pursuant to Program Statement 5100.08, Inmate Security

Designation and Custody Classification, and no ARSC Ea EEes have

been found.

Computation Manual (CCCA of 1984).

Accordingly, your appeal has been denied.

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National Inmate ‘Appeals
Case 5:24-cv-00153-SB-PVC porthmaent 1 Filed 01/19/24 Page 29 of 64 Page ID #:29

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PAGE 002 OF 002 * SANITIZED FORMAT * 13:40:50
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VIP VIP 07-14-2021 _) REJ 07~14-2021

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BOP _ VIP 10-05-2022 CLD 11-22-2022
1144984-Fl1  26AM/ MEDICAL ACCESS

VIP VIP 12-15-2022 CLO 02-06-2023

These 13 livcied administrative remedies are all notices
regarding niy USP Victorville unlawful confinement,
Ai\ notices rEAardigg the violotion of IBUSC 358Y(C) and BOP poli ey Statement $#5100-08.

REMEDY SUBMISSION(S) SELECTED
G0000 TRANSACTION SUCCESSFULLY COMPLETED

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*KIn addition, trere ore afew more new recent administrative re

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migsclassification Status. my iP .
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- INFORMAL RESOLUTION

September 16, 2015

_ Page 4

INSTITUTION (CIRCLE ONE) FCI I FCI II (USP) cAMP

NOTICE TO

Be advised that before filing a Request for Administrative Remedy form

NOTICE TO INMATE:
BP-229 (except as provided in §542.13(b)},; ‘you shall attempt to informally resolve your

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es Unit BZ Signature _

Distribution: If complaint is NOT informally resolved - Forward this or
form attached to BP-9 Form to the Administrative Remedy Clerk.

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Case 5:24-cv-00153-SB-PVC DocuREtAr tiled 01/19/24 Page 32 of 64 Page ID #:32

Rejvester: Damasi Singleton 9B NO. 2395 7-IN
REQUEST FOR ADMINISTRATIVE REMEDY-,.P-4.
CASE NO: 1093110-F2 .

Your Request for Administrative Remedy dated August 30, 2021 was
received in this office on September 13, 2021. Specifically, you
are asking for an immediate transfer to an FCI due to DSCC
misclassifying your custody classification points.

> A review of your custody classification was condycted, and it was

~ found to be accurate. An examination of your custody ©
classification shows you have three Public Safety Factors (PSF)
for Greatest Severity, Sentence Length and a.Moderate level
detainer. All three PSF’s are appropriate due to various reasons
such as, sentence length, criminal history and severity. Asa

. result, DSCC scored you with 31 points. Your next Custody
Classification is scheduled for November 05, 2021. During this
review the Unit Team will formally review your Custody

Classification, however at this moment you are appropriately
scored as a high security inmate.

Accordingly, your Request for Administrative Remedy is denied.

If you are not satisfied with this response, you may appeal to
the Western Regional Director. Your appeal must be received by |
the Regional Administrative Remedy Coordinator, Federal Bureau of
Prisons, Western Regional Office, 7338 Shoreline’ Drive, Stockton,
CA 95219, within twenty (20) calendar days from the date of this
response. oo

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T. Jusino, Acting Complex Warden | oe Date

T.S P “Victorville.

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>. ¢ Case 5:24-cv-00153-SB-PVC Dosdment1 Filed 01/19/24 Page 33 of 64 Page ID #:33
U.S. Department of Justice ° Regional Administrative Remedy Appeal

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Federal Bureau of Prisons

Type or use ball-point pen. If attachments are needed, submit four copies. One copy of the completed BP-229(13) including any attachments must be submitted

with this appeal.
rom: Siagleton,, Dacoacs,. \l QA05 Tl OBA USP Victorville
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Part A- REASON FOR APPEAL Se Victorville Deitch +ryieq to prevert the Successful progress

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Part B- RESPONSE |
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7 DATE REGIONAL DIRECTOR
If dissatisfied with this response, you may appeal to the General Counsel. Your appeal must be received in the General Counsel’s Office within 30 calendar
days of the date of this response. .

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Part C - RECEIPT I
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LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
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SIGNATURE, RECIPIENT OF REGIONAL APPEAL

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ments must be submitted with this appeal.

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September 16, 2015
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REQUEST FOR ADMINISTRATIVE REMEDY MSU
. INFORMAL RESOLUTION te qi?

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NOTICE TO INMATE: Be advised that before filing a Request for
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Case 5:24-cv-00153-SB-PVC Document1 Filed 01/19/24 Page 42 of 64 Page ID #:42

(28USC.224l Supplemental)

EXHIBIT H
Case 5:24-cv-00153-SB-PVC Document1 Filed 01/19/24 Page 43 of 64 Page ID #:43
BoP Poe Statemerr#5100-08 Excerpt = Orjaynal

( SECURITY DESIGNATION PROCEDURES FOR NEW COMMITMENTS )

The Designation and Sentence Computation Center will
ordinarily complete the initial designation within three
working days of receiving all the necessary documentation from
the U.S. Marshals Service (USMS) and the U.S. Probation
Officer (USPO) which includes the following: the Presentence
Investigation Report (PSR), Judgment, Statement of Reasons
(SOR), and Central Inmate Monitoring (CIM) documentation (in
cases where a CIM assignment is necessary).

The DSCC will refer all requests for initial designation with
potential medical/mental health concerns to the Office of
Medical Designations and Transfers (OMDT), Health Services
Division, Washington, D.C. no later than the following work
day.

1. DESIGNATION PROCEDURES

The following is the normal chronology of an initial

designation. a. The inmate is sentenced.

b. The Clerk of the Court transmits the Judgment and
Commitment Order (old law cases) or Judgment in a Criminal
Case (new law cases) to the USMS.

c. The USMS makes a request to the DSCC advising that
the inmate is now ready for designation to a facility.

d.If it has not already been provided, DSCC staff must

contact the necessary officials (USPO or USMS) for the
following:

two copies of the PSR, a copy of the Judgment, to include the

SOR, and the Individual Custody and Detention Report (USM-129).

If the SOR is not provided with the Judgment, DSCC staff will

make a reasonable effort to obtain a copy by contacting the
Court or USPO. If no SOR
was prepared for the case or cannot be obtained, DSCC staff
will note this in the “Remarks” section of the BP~337 and

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Case 5:24-cv-00153-SB-PVC Document 1 Filed 01/19/24 Page 440f 64 Page ID #:44
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proceed with the designation process.
procedures will ensure the Bureau is following the intentions
of the Court when designating a facility, as the SOR may
contain information which overrides the PSR and may affect

scoring decisions.

a non-federal facility should be designated. If a PSR has not
been prepared, DSCC staff will complete a National Crime
Information Center (NCIC) and National Law Enforcement
Telecommunication System (NLETS) criminal history check to
obtain background information. DSCC staff will then
load appropriate information on the SENTRY Update Security
Designation screen with a notation that no PSR was available.
Dscc staff will contact

the USPO and request that a Postsentence Investigation Report be

prepared, and forwarded to the designated facility. DSCC
staff will document this contact on the SENTRY Update
Security Designation Screen.

Frequently, in cases involving Reentry after Deportation,
Presentence/Postsentence Investigation Reports are not
prepared. In those particular cases, a Magistrate Information
Sheet may be used. A Magistrate Information Sheet is a
document prepared by U.S. law enforcement officials. This
document contains a summary of the facts related to the
defendant's arrest and prior criminal/personal history. This
information is primarily

obtained through the arresting officer's report, the FBI Rap

Sheet and an interview with the defendant.

If more than six months has elapsed since the PSR was prepared,
DSCC staff will contact the USPO to determine if there is any
new or Significant information that should be considered. If
the offender was a study case before final sentencing, DSCC
staff

will take into consideration the results of that study in
completing the designation request. The result of the study
may be obtained from a PSR, a summary report, or any other
information available.

If offense or background information is not available prior

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to designation, an inmate must be designated to at least a
Low security level institution. When information is
obtained, the institution may request redesignation, if
appropriate.

e. The DSCC uses classification material and SENTRY to
determine if Central Inmate Monitoring (CIM) precautions need

to be taken. This includes a name search to determine if
the offender was previously confined under the current or
previous register number. If new to the Bureau,

the inmate must be loaded into SENTRY and "admitted" to the
DScc "facility," with any appropriate CIM assignment (s)
entered. DSCC staff will identify the documents used to
support CIM assignments and forward the documents to the
designated institution.

DSCC staff will complete and enter into SENTRY an Inmate
Load and Security Designation form (BP-337) on all cases with
terms exceeding 30 days. The DSCC staff member loading the
data has the discretian to complete a hard copy version or may
enter the information directly into SENTRY.

DSccC staff must determine if there is a break in custody when
J the inmate is transferring to federal custody after service of J
a

state sentence. The DSCC usually has access to this type of

information for jail credit purposes. If there is no physical
release from custody, DSCC staff will consider the state
offense as part of the current term of confinement for
classification purposes and will not assign any history points
for the state offense.

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9. HISTORY OF VIOLENCE

HISTORY NONE > YEAR 10- YEAR 5- YEARS
OF 10

* Ww

<5 YEARS

R
un
Rr
uo
ow

VIOLENCE MINOR 0 1 1 3

SERIOUS 0 2 4 6

Enter the appropriate number of points that reflect any history
of violence, considering only those acts for which there are
documented findings of guilt (i.e., DHO, Court, Parole,
Mandatory Release, or Supervised Release Violation). This item
includes

the individual's entire background of criminal violence,

(excluding the current term of confinement.)

Exception: Any institution disciplinary hearing (UDC or DHO)
finding that a prohibited act was committed during the current
term of confinement will be scored as a history item. DSCC
staff must review the Chronological Disciplinary Record (CDR)
for inmates who were previously housed in a federal institution
or contract facility. Any violent act(s) reflected on
the CDR must be scored as a history item. State
disciplinary findings must be scored unless there is
documentation that the state disciplinary proceedings did not
afford due process protection to the inmate.

severity of violence is determined by the offense behavior
regardless of the conviction/finding of guilt offense.

History of Violence points combine both seriousness and
recency of prior violent incidents to assess the propensity
for future violence. Therefore, if there is more than one
incident of violence, score the combination of seriousness and
recency that yields the highest point score. ( Prior
periods of incarceration will be

considered a “history” item if the inmate was physically

released)

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9. HISTORY OF VIOLENCE

| 9, HISTORY OF NONE >15 YEARS 10-15 YEARS 5-10 YEARS  ¢s ypars |
| VIOLENCE MINOR 0 1 1 3 Z |
| SERIOUS 0 2 4 6 7 |

Enter the appropriate number of points that reflect any history
of violence, considering only those acts for which there are
documented findings of guilt (i.e., DHO, Court, Parole, Mandatory
Release, or Supervised Release Violation). ( This item includes
the individual's entire background of criminal violence,
excluding the current term of confinement.)

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7. SEVERITY OF CURRENT OFFENSE

LOWEST 3

MODERATE 7 =

il

7. SEVERITY OF 0 GREATEST

CURRENT OFFENSE 1

LOW MODERATE 5 = HIGH

Enter the appropriate number of points that reflect the most
severe documented instant offense behavior regardless of the
conviction offense. For multiple offenses, the highest score
will be used in scoring the current offense. Staff will
consider the offense behavior on all sentences, including federal
sentences that have a future beginning date or a previous D.C. or

\gtets sentence if there was no physical release from custody. |

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8. CRIMINAL 0 = 0-1 4 = 4-6 8 = 10-12

HISTORY 2 = 2-3 6 = 7-9 10 = 13 +
SCORE
8a. SOURCE OF DOCUMENTED - PRESENTENCE INVESTIGATION REPORT CRIMINAL HISTORY - NCIC Til

nein?

Enter the appropriate number of Criminal History Points(CHP).
SENTRY will automatically convert the CHP to the Bureau’s
Criminal History Score (CHS).

The CHS is derived from the US Sentencing Guidelines Criminal
History Points, as reflected in the final judgment and the SOR.
If not found in either the Judgment or SOR, use the points
assessed by the USPO in the PSR,

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CCRIMINAL HISTORY POINTS») Criminal History Points are used to
calculate the Bureau’s Criminal History Score. The Criminal
History Points is the calculation, as specified by the U.S.
Sentencing Commission Guidelines (Guidelines Manual, Chapter
4), which assigns a numerical value based on the individuals
entire criminal record of convictions. Ordinarily, the
Criminal History Points are calculated by the United States
Probation Office.

CRIMINAL HISTORY SCORE (CHS) > The CHS is one of the factors
used to calculate the inmate’s security point total. The CHS
is derived from the Criminal History Points whereby the
Criminal History Points fall into one of six categories.

A

CURRENT OFFENSE. For classification purposes, the current
offense is the most severe documented instant offense

behavior regardless of the conviction offense.

C CUSTODY CLASSIFICATION>) The review process to assign a custody
level based on an inmate’s criminal history, instant offense,
and institutional adjustment.A custody level (i.e., COMMUNITY,
OUT, IN, and MAXIMUM) dictates the degree of staff supervision

required for an individual inmate.

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DESI

SECURITY GNATION TABLE (MALES)

INMATE SECURITY LEVEL ASSIGNMENTS BASED ON CLASSIFICATION

SCORE AND PUBLIC SAFETY FACTORS

Securit y| Public Safety Factors Inmate

Point Security

Level

o Et No Public Safety Factors Deportable | Minimum Low
Alien Juvenile Violence Low Low Low
Greatest Severity Offense Low Low
Sex Offender Low Medium
Serious Telephone Abuse High .
Threat to Government Officials Medium = _ High
Sentence Length High
Time remaining > 10 Yrs
Time remaining > 20 Yrs
Time remaining > 30 Yrs (Includes
non-parolable LIFE and Death
penalty cases)
Serious Escape
Disruptive Group
Prison Disturbance

a= No Public Safety Factors Low
Serious Escape Medium
Sentence Length Medium High
Time remaining > 20 Yrs High High
Time remaining > 30 Yrs (Includes
non-parolable LIFE and Death
penalty cases)
Disruptive Group
Prison Disturbance

16 ~- 23 : . .
No Public Safety Factors Medium High
Disruptive Group High
Prison Disturbance High
Sentence Length
Time remaining > 30 yrs (Includes
non-parolable LIFE and Death
penalty cases)

24 + High

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(28 USC 224I Supplernentot)

EXHIBIT I
Case 5:24-cv-00153-SB-PVC Document Filed 01/19/24 Page 53 of 64 Page ID #:53

VIPE7 606.00 * MALE CUSTODY CLASSIFICATION FORM * 11-28-2023
PAGE 001 OF O01 09:24:17
(A) IDENTIFYING DATA
REG NO..: FORM DATE: 11-28-2023 ORG: VIP

NAME....: SINGLETON, DAMARI WILLIAM
MGTV: NONE

PUB SFTY: GRT SVRTY,SEX OFFN MVED:

(B) BASE SCORING
DETAINER: (0) NONE SEVERITY.......: (7) GREATEST
MOS REL.: 74 CRIM HIST SCORE: (08) 10 POINTS
ESCAPES.: (0) NONE VIOLENCE.......: (6) 5-10 YRS SERIOUS
VOL SURR: (0) N/A AGE CATEGORY...: (4) 25 THROUGH 35

EDUC LEV: (0) VERFD HS DEGREE/GED DRUG/ALC ABUSE.: (1) <5 YEARS
(C) CUSTODY SCORING

TIME SERVED.....: (4) 26-75% PROG PARTICIPAT: (1) AVERAGE
LIVING SKILLS...: (1) AVERAGE TYPE DISCIP RPT: (5) NONE
FREQ DISCIP RPT.: (3) NONE FAMILY/COMMUN..: (4) GOOD

--- LEVEL AND CUSTODY SUMMARY ---
BASE CUST VARIANCE SEC TOTAL SCORED LEV MGMT SEC LEVEL CUSTODY CONSIDER
+26 +18 0 +26 HIGH N/A IN SAME

GO005 TRANSACTION SUCCESSFULLY COMPLETED - CONTINUE PROCESSING IF DESIRED
Case 5:24-cv-00153-SB-PVC Document 1 Filed 01/19/24 Page 54o0f64 Page ID #:54

C28 USC 22HI Supplement

EXHIBIT | J
BoP Paige Svctermants usar pth Orgy Filed 01/19/24 Page 55 of 64 Page ID #:55

Chapter 1. Sex Offender Management Programs

1.1 Sex Offender Management Programs. Sex Offender Management Programs (SOMP) are
provided at designated institutions to assist. in the effective management of the Bureau’s
population of sexual offenders and to provide services that minimize this population’s risk for
sexual reoffense.

a. Population Management. A pri oal of SOMP institutions is to reduce the need to
place sexual offenders in protective custody, and to create an institution climate conducive to
voluntary participation in treatment. To achieve this goal, SOMP institutions will maintain a
significant proportion of sexual offenders in the population.

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(28 USC 2.24\ Supplemental)

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TRULINCS 23957111 - SINGLETON, DAMARI WILLIAM - Unit: VIP-F-B

FROM: 23957111

TO: USP Unit 6

SUBJECT: ***Request to Staff*** SINGLETON, DAMARI, Reg# 23957111, VIP-F-B
DATE: 12/04/2023 09:24:55 AM

To: Unit Manager Mr. Wilson
Inmate Work Assignment: n/a

Mr. Wilson before | left back to court earlier this year, | sent you and Mr. Strong a barrage of emails and a administrative remedy
-notifying you both that | was at my 18month mark requesting a transfer to USP Tucson due to it was closer to my new legal
residence in Silver City,New Mexico AND because it would be better for my institutional adjustment. As you should be aware |
am convicted of sex trafficking which is looked down on yards like this and | am not adjusting properly to this enviroment. This
enviroment creates a substantial risk of harm to my safety. USP Tucson is: a SOMP enviroment with a large population of sex
trafficking cases. | have never had a shot and | been at USP Victorville‘since May 2021. Man please just look out for me bro.
Thanks in adavance!
oth

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TRULINCS 23957111 - SINGLETON, DAMARI WILLIAM - Unit: VIP-F-B

FROM: 23957111

TO: USP Psychology Services

SUBJECT: ***Request to Staff*** SINGLETON, DAMARI, Reg# 23957111, VIP-F-B
DATE: 12/24/2022 08:06:04 PM

To: Head Of Psychology
inmate Work Assignment: n/a

| really need your department to schedule me an appointment because my misclassification status has really been making my
PTSD condition unbearable. | am not suppose to be in a USP and it is just really stressing me out to the point | am just
emotionally wrecked. | have sent your department so many emails and cop outs regarding this is issue ever since | came to this
institution but | never get scheduled an appointment. Why are you guys being so negligent? Don't you understand that | am
diagnosed with severe PTSD and that the judge ordered the BOP to give me treatment for it. Please stop ignoring me!
Case 5:24-cv-00153-SB-PVC Document1 Filed 01/19/24 Page 59 of 64 Page ID #:59

TRULINCS 23957111 - SINGLETON, DAMARI WILLIAM - Unit: VIP-F-B ;

FROM: USP CMC

TO: 23957111

SUBJECT: RE:***Inmate to Staff Message***
DATE: 10/31/2022 08:42:02 AM

Program Statement 5100.08 procedures are consistent with the statutory authority contained in 18 USC 3621, not 18 USC 3584
(c), 18 USC 3584 (c) references your convictions, not your Place of imprisonment. Per program statement 5100.08, The
inmates entire background of criminal conviction excluding the current offense and institutional disciplinary findings used to
assess points related to his/her history of violence and/or escape.

From: ~4! SINGLETON, ~AIDAMARI WILLIAM <23957111@inmatemessage.com>
Sent: Wednesday, October 26, 2022 9:35 PM

To: VIP-InmateToCMC (BOP) >

Subject: ***Request to Staff*** SINGLETON, DAMARI, Reg# 23957111, VIP-F-B

To: CASE MANAGEMENT COORDINATOR MS. LANGEL
inmate Work Assignment: N/A

?
-----SINGLETON, DAMARI WILLIAM on 10/24/2022 3:01 PM wrote:

>

Hey Ms. Langel, | am just following up with you about the conversation we had about my interpretation of BOP policy statement
#5100.08-specifically the section that asseris since | transferred over directly from the State to the Feds-that | will not recieve
any (BOP) history points for the state offense...So | just want you to know just in case you may not be aware is that the
mandate in 18 USC 3584 (c) clearly and plainly substantiate this interpretation. Also, | want you to know that my
misclassification status is putting my life in undue danger and has been causing me severe emotional stress because | am
afraid for my life in here.

CMC Ms. Lan el Sent me tothe Special Housin
Unit (SHU) aka! the hole for tnisemail, Sie vil
j assert
that She only done S0,for ney protection. But in truth,
She persenally-rold ME Thact She Was Sending me +o +ne

SHU ag a punishment or not backing down on mu miéclassifeata

Bvocacu. Facts and records wi || S44 heav(ly © the latter,
Case 5:24-cv-00153-SB-PVC Documktit{® Pied 01/19/24 Page 60 of 64 Page ID #60

TRULINCS 23957111 - SINGLETON, DAMARI WILLIAM - Unit: VIP-F-B

FROM: 23957111

TO: USP Psychology Services

SUBJECT: ***Request to Staff*** SINGLETON, DAMARI, Reg# 23957111, VIP-F-B
DATE: 03/14/2022 11:56:09 AM

To: Head of Psychology Services
Inmate Work Assignment: n/a

| have been at this prison for 9 months and every single month | have been here | have filed so many cop outs and emails
requesting to be seen by your department for my PTSD condition. | even talked to you and your psychology department
associates personally, several times, to which you all said you were going to see me but it never happens. My PTSD condition
has been getting the best of me for the past 9 months and | don't know how much longer will | be able to take it without
breaking down. Why is your department ignoring me all the time? Please help

rs
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Case 5:24-cv-00153-SB-PVC Sacinien! 1 Filed 01/19/24 Page 62 of 64 Page ID #:62

Individualized Needs Plan - Program Review (inmate Copy) SEQUENCE: 02226861

oe Dept. of Justice / Federal Bureau of Prisons Team Date: 11-28-2023
a Plan is for inmate: SINGLETON, DAMARI WILLIAM 23957-111

|Assignment Description Start |

FTC {NELIG FTC-INELIGIBLE-REVIEWED 05-10-2021

INELIG AUT FTC-INELIGIBLE OFF CODE - AUTO 12-14-2020

N-ANGER Y NEED - ANGER/HOSTILITY YES 11-28-2023

N-ANTISO Y NEED - ANTISOCIAL PEERS YES 11-28-2023

N-COGNTV Y NEED - COGNITIONS YES 41-28-2023

N-DYSLEX N NEED ~ DYSLEXIA NO 07-07-2021

N-EDUC N NEED - EDUCATION NO 41-28-2023

N-FIN PV N NEED ~ FINANCE/POVERTY NO 11-28-2023

N-FM/PAR Y NEED ~- FAMILY/PARENTING YES 11-28-2023

N-M HLTH N NEED ~- MENTAL HEALTH NO 11-28-2023

N-MEDICL N NEED ~- MEDICAL NO 11-28-2023

N-RLF N NEED - REC/LEISURE/FITNESS NO 11-28-2023

N-SUB AB Y NEED - SUBSTANCE ABUSE YES 11-28-2023

N-TRAUMA Y NEED - TRAUMA YES 11-28-2023

N-WORK Y NEED - WORK YES 11-28-2023
RH! \Ircorrectar| CHicH Risk RECIDIVISM LEVEL [Incorrece| 11-28-2023

Progress since last review

Returned from a FED WRIT on 11-16-2023 Subject has earned his GED or high school diploma. He does not have any release identification located in
his central file.

Next Program Review Goals
| Go to Education, Psychology, Religious Services, Medical and Recreation to determine what suits your interest and meet your FSA Needs. |
Long Term Goals _

| We will take 6 months to evaluate your actions before we make long term recommendations.

RRCIHC Placement i ‘aa /i fT Ss

-. S oe. J Re OS. a. a

Comments —

Next Program Review: 05g-28-2024
BP-338 Next Update: 11-28-2024
Current Points: 26 (HIGH)

Sentry Data as of 11-28-2023 individualized Needs Plan - Program Review (Inmate Copy) Page 2 of 3
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UsdsRentte ‘are Victorville

P.0-Box 2900
Adelanto, GA 92301

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Central District Califien

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312 North Spring Sireet
Los Anogtes GA A012.
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